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     Rainwater Law Group
 2   Designated Counsel for Service
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 3   Eugene, Oregon 97401-4049
     Telephone: (541) 344-1785
 4
     Counsel for Defendant
 5   TRENT MILLER
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )    NO. 1:07-CR-0221 OWW
                                                    )
12                         Plaintiff,               )
                                                    )    STIPULATION TO CONTINUE MR. MILLER’S
13          v.                                      )    SENTENCING HEARING, AND ORDER
                                                    )    THEREON
14   RODOLFO MALLARI PAGSANJAN,                     )
          aka Rudy Pagsanjan                        )
15   MASOUD MIRHADI,                                )    Date: April 6, 2009
          aka Mike Mirhadi, and                     )    Time: 1:30 p.m.
16   TRENT MILLER,                                  )    Judge: Honorable Oliver W. Wanger
                                                    )
17                         Defendants.              )
                                                    )
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19
20                                                STIPULATION
21          It is hereby stipulated by and between the parties hereto that the sentencing hearing in Mr. Miller’s
22   case, previously set for March 23, 2009, be continued to April 6, 2009, at 1:30 p.m.
23          The reason for this continuance is to allow counsel for the defendant Miller time for further
24   preparation. Both parties have agreed to the above time and date for the sentencing hearing as to Mr.
25   Miller only.
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27
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 1                                                              Lawrence G. Brown
                                                                Acting United States Attorney
 2
 3
 4   DATED: February 23, 2009                             By:   /s/ Marlon Cobar
                                                                MARLON COBAR
 5                                                              Assistant U.S. Attorney
                                                                Attorney for Plaintiff
 6
 7
 8   DATED: February 23, 2009                             By:   /s/ Robert W. Rainwater
                                                                ROBERT W. RAINWATER
 9                                                              Attorney for Defendant
                                                                TRENT MILLER
10
11
12
13                                                   ORDER
14           IT IS SO ORDERED. For the reasons stated above, the court finds that the ends of justice are
15   served by a continuance of the sentencing hearing.
16   IT IS SO ORDERED.
17   Dated: February 23, 2009                        /s/ Oliver W. Wanger
     emm0d6                                     UNITED STATES DISTRICT JUDGE
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     Stip. to Continue Sentencing Hearing                 2
